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8                             UNITED STATES DISTRICT COURT
9                           SOUTHERN DISTRICT OF CALIFORNIA
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11     Ms. L.; et al.,                                     Case No.: 18cv0428 DMS (MDD)
12                           Petitioners-Plaintiffs,
                                                           ORDER FOLLOWING STATUS
13     v.                                                  CONFERENCE
14     U.S Immigration and Customs
       Enforcement (“ICE”); et al.,
15
                         Respondents-Defendants.
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18           A status conference was held on December 4, 2020. After consulting with counsel
19     and being advised of the status of the case, IT IS HEREBY ORDERED:
20     1.    A further status conference shall be held on January 15, 2021, at 1:30 p.m. The
21     dial-in number for any counsel who wish to listen in only and members of the news media
22     is as follows.
23           a.     Dial the toll free number: 877-411-9748;
24           b.     Enter the Access Code: 6246317 (Participants will be put on hold until the
25                  Court activates the conference call);
26           c.     Enter the Participant Security Code 01150428 and Press # (The security code
27                  will be confirmed);
28           d.     Once the Security Code is confirmed, participants will be prompted to Press

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                                                                               18cv0428 DMS (MDD)
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1                     1 to join the conference or Press 2 to re-enter the Security Code.
2      Members of the general public may attend in person. All persons dialing in to the
3      conference are reminded that Civil Local Rule 83.7(c) prohibits any recording of court
4      proceedings.
5      2.    The next Joint Status Report shall be filed on or before 3:00 p.m. on January 13,
6      2021. As part of their submission, Defendants shall provide a declaration explaining the
7      circumstances surrounding the recent production of information from the Executive Office
8      for Immigration Review.
9      Dated: December 7, 2020
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